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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §   CRIMINAL NO. 4:04CR106 RAS/DDB
                                                   §
 BRANDON EUGENE CARY (11)                          §


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

          Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on August 5, 2015 to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by Chris

 Eason.

          On January 5, 2005, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 121 months imprisonment followed by a 5-year term of

 supervised release for the offense of Conspiracy to Possess with Intent to Distribute Cocaine Base.

  On August 20, 2009, after considering a motion filed pursuant to Tile 18 U.S.C. § 3582(c)(2), the

 Court reduced the imprisonment term to 120 months. Defendant began his term of supervision on

 July 2, 2012.

          On June 22, 2015, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 1603). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall refrain from any unlawful use

 of a controlled substance; and (2) Defendant shall refrain from excessive use of alcohol and shall not




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     purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or

     paraphernalia related to such substances, except as prescribed by a physician.

            The Petition alleges that Defendant committed the following violations: (1) On June 11, and

     August 7, 2013, Defendant submitted urine specimens which tested positive for marijuana. Alere

     Laboratory testing confirmed the use of the substance; (2) On March 3, 17, 21, and 26, and April 7,

     2015, Defendant submitted urine specimens that tested positive for marijuana. Alere Laboratory

     testing confirmed new use of marijuana prior to the submission of each test; (3) Additionally, on

     April 21, and 30; May 6, 7, 20 and 29, 2015; Defendant submitted urine specimens that tested

     positive for marijuana. Alere Laboratory testing confirmed the use of said substance; however, no

     determination has been made as of June 22, 2015 if any of the test results are from residual use.

            At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                           RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

.    presented at the August 5, 2015 hearing, the Court recommends that Defendant be committed to the

     custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months, with no supervised

     release to follow. The Court further recommends that Defendant’s term of imprisonment be carried

     out in FCI Texarkana, if appropriate.

           SIGNED this 18th day of August, 2015.

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                                                     ____________________________________
                                                     DON D. BUSH
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                                                     UNITED  STATES MAGISTRATE JUDGE
